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                                              Author J Manning Jr vs Sony, icrosoft, Sega


                            UNITED STATES EASTERN DIST ICT COURT

                                DF TEXAS, TYLER TEXAS DIVISION

 AUTHOR J. MAN ING JR.
  PLAINTIFF
                                               Case N- B:25-cv-DDID1-JDL
VS..


SONY, MICROSOFT, SEGA GENESIS
       DEFENDANT,
                                 AMEMDED FEDERAL PETITION
   On this aid day The Plaintiff, Author J Manning Jr Pro Sa filed Petition and claims for
   Relief Vs The Defendants, Sony, Microsoft Inc. and ega Genesis' business behavior.
   Federal Petition is filed by for reason: the Plaintiff is the original maker, founder, and
   owner of the intellectual property valued titles, trade secrets, and items of the video
   game industry. The Plaintiff Author J Maoning Jr is a owner group member of Manning 8
   Manning who owns Multiple corporations that manufactures technology, Sony, Sony
   Play tation, Microsoft's Xbox, ega Genesis and other titles were originally made by the
   Plaintiff at his corporations in the 1980s, Nintendo was another. Proof of the Plaintiff s
   claims for relief are documented in a Order in Judgement rendered signed in 1985
   granting the Plaintiff, Author J Manning Jr Ownership of the Nintendo Corporation.
   Nintendo Video Game Products were marketed years before the Defendant , Sony
   PlayStation, Microsoft's Xbox and Sega Genesis Products were marketed. The Plaintiff is
   responsible for the Defendants success today marketing and selling the Plaintiff's new
   developments known today as Video Game Networks, Store, VRs, Retros, Minies, Gaming,
  in game purchases and others. The Defendants are affiliated. Fraod/E bezzlement:
  If the employees illegally took control of the company throogh fraudulent means or by
  embezzling company assets, the boss could pursue legal action for fraud or
  embezzlement. 18 U.S.C. § 656, theft, embezzlement, or misapplication by bank officers or
   employees .
  Here's a more detailed breakdown:
  18 U.S.C. § 641: This section makes it a federal crime to embezzle, steal, purloin, or
  kno ingly convert to one's use.
  Embezzlement under this section is the fraudulent appropriation of property by someone
  entrusted with it or into whose hands it has lawfully come.
  The Department of Justice defines embezzlement as the fraudulent appropriation of
  property by a person to whom such property has been entrusted, or into whose hands it
  has lawfully come.
  The Plaintiff trusted the defendant, and the defendant fraudulently converted or used that
  property for their o n benefit.
  18 U.S.C. § 656: This section addresses theft, embezzlement, or misapplication by bank
  officers or employees, making it a crime for such individuals to willfully misapply,
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 embezzlb, or purloin (steal) any of the monoy, funds, or credits of the bank or institution
 they work for.
 Penalties: Conviction for federal embezzlement can result in fines and im risonment, with
 18 U.S.C. § 841 carrying a potential penalty of up to 10 years imprisonment, or a fine equal
 to the amount of money embezzled or $500,000, or both.
 18 U.S.C. Chapter 31: This chapter covers Embezzle ent and Theft.
 18 U.S.C. Chapter 47: This chapter covers Fraud and False Statements.

                                     ARGUMENT
 The Plaintiff is the original maker and owner and founder of the Defendants Corporations:
 Sony, Microsoft Inc. Sega Genesis and the box shaped device and controller designs of
 intellectual property of the case.
  Nintendo and the Defendants market and sell the Plaintiff's trade secrets in this
 description for profit still today. The Defendants use the intellectual property of the
 Plaintiff's Nintendo Gameboy, a hand held video game device and the Plaintiff is the
 original maker of the PSP/PlayStation Portable, and Vita marketed by Sony. The Sega
 Game Gear is another handheld Video Game.
 The Plaintiff is the original maker and owner of Micro-software-and-hardware Trade
 Secret Valued Properties and Micro-technology trade secrets used by Microsoft Inc. and
 others. The Defendants and others took the Plaintiff's businesses and business ideals and
 fraudulent registered the ownerships not of the Plaintiff's. The Defendants have taken
 large amounts of money over the years since the businesses started. The Defendants
 have embezzled money from the Plaintiff from the e ployee position and other reason the
 lawsuit was filed and claim made against the Defendant s for Relief.

                                CLAIMS FDR RELIEF
  The Defendants, Sony, Microsoft Inc. Sega Genesis filed fraudulent Copyrights and
 Intellectual Property Ownerships depriving the Plaintiff of his ownerships. The Ownerships
 of the Intellectual Property items of the case marketed by Microsoft Inc. Sony, and Sega
 are owned by the Plaintiff confirmed by a Order signed in (1985) Granting the Plaintiff
 ownership of the business Nintendo. The Plaintiff made the Video Game and Entertainment
 Production Titles, Trademarks, Logos; Sony, PlayStation in the (l980)s, Sega (1990)
 Genesis and Nintendo in the (l98D)s PlayStation Portable, PlayStation 3, PlayStation
 Network, and Online Game Store (2006) The Plaintiff is the original Founder and Marketer
 of multiple Video Game and Video Game Device Companies before the 1980s. The
 Defendants market and sell intellectual property valued items marketed by the Plaintiff's
 business Nintendo. The Plaintiff is the Independent owner of the Defendants' Corporations
 and Midway Inc. Acclaim Inc. The Arcade and others. The Plaintiff owns ultiple business
 treasuries and development assets that are alleged utilized for the founding of the
 Defendant's corporations. The Plaintiff has not been paid, the items of the case were
 Espionage from the Plaintiff, the Defendants have fraudulent ownerships of the Plaintiff's
 business and has Embezzled large amounts of money from the Plaintiff. The Plaintiff is the
 Independent owner of the device and title; Android Phones and Devices, SmartPhones and
 Devices Apps and Apps stores, the Internet and Mobile Internet and Internet data devices.

                  ALLEGATIONS AGAINST THE DEFENDANT SONY
